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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA,

             Plaintiff,

v.
                                                    Civil Case No. 1:23-cv-38-APM
DONALD J. TRUMP, et al.

             Defendants.


                               [PROPOSED] ORDER

      Upon consideration of Donald J. Trump’s Unopposed Motion for Extension and

arguments therein, and because the Court finds good cause, it is hereby

      ORDERED Donald J. Trump’s Unopposed Motion for Extension of time to file

his reply brief in support of his motion to dismiss is GRANTED.

      SO ORDERED.



Dated: ___________________                   _________________________________
                                             The Honorable Amit P. Mehta
                                             United States District Judge
